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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  IN RE: ASBESTOS LITIGATION                    )
                                                )
  MICHAEL R. HARDING and                        )
  SALLY HARDING, his wife,                      )
                                                )
                 Plaintiffs,                    )
                                                )
         V.                                     )       Civil Action No. 17-251-MN-SRF
                                                )
  A. 0. SMITH CORP., et al.,                    )
                                                )
                 Defendants.                    )

                               REPORT AND RECOMMENDATION

  I.     INTRODUCTION

         Presently before the court in this asbestos-related personal injury action are the motions

  for summary judgment of A.O. Smith Corp. ("A.O. Smith") (D.I. 166), Air & Liquid Systems

  Corporation 1 ("Air & Liquid") (D.I. 170), Burnham LLC ("Burnham") (D.I. 157), Crosby Valve

  LLC ("Crosby") (D.I. 144), DAP Products, Inc. ("DAP") (D.I. 145), Dominion Nuclear

  Connecticut, Inc. ("Dominion") (D .I. 164 ), Foster Wheeler LLC ("Foster Wheeler") (D .I. 151 ),

  Gardner Denver, Inc. ("Gardner Denver") (D.I. 142), Rheem Manufacturing Company

  ("Rheem") (D.I. 155), Slant/Fin Corporation ("Slant/Fin") (D.I. 163), Spirax Sarco, Inc.

  ("Spirax") (D.I. 161), and Superior Boiler Works, Inc. ("SBW") (D.I. 159) (collectively,

  "defendants"). Plaintiffs, Michael R. Harding ("Mr. Harding") and his wife, Sally Harding

  (collectively, "plaintiffs"), did not respond to these motions. As indicated in the chart infra and

  for the reasons that follow, the court recommends GRANTING defendants' motions for



   1
    Defendant Air & Liquid Systems Corporation is a successor by merger to Buffalo Pumps, Inc.
  ("Buffalo"). (D.1. 171 at 1)
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  summary judgment. 2


      A.O. Smith Corporation                             GRANT
      Air & Liquid Systems Corp.                         GRANT
      Burnham LLC                                        GRANT
      Crosby Valve LLC                                   GRANT
      DAP Products, Inc.                                 GRANT
      Dominion Nuclear Connecticut, Inc.                 GRANT
      Foster Wheeler LLC                                 GRANT
      Gardner Denver, Inc.                               GRANT
      Rheem Manufacturing Company                        GRANT
      Slant/Fin Corporation                              GRANT
      Spirax Sarco, Inc.                                 GRANT
      Superior Boiler Works, Inc.                        GRANT

  II.       BACKGROUND

                A. Procedural History

            On January 25, 2017, plaintiffs originally filed this personal injury action against multiple

  defendants in the Superior Court of Delaware, asserting claims arising from Mr. Harding's

  alleged harmful exposure to asbestos. (D.I. 1, Ex. 1) On March 10, 2017, the case was removed

  to this court by defendant Crane Co. pursuant to 28 U.S.C. §§ 1442(a)(l), the federal officer

  removal statute,3 and 1446. (D.I. 1) A.O. Smith, Air & Liquid, Burnham, Crosby, DAP,

  Dominion, Foster Wheeler, Gardner Denver, Rheem, Slant/Fin, Spirax, and SBW filed motions



  2
    Defendants' opening briefs in support of their respective motions for summary judgment are as
  follows: A.O. Smith (D.I. 167), Air & Liquid (D.I. 171), Burnham (D.I. 158), Crosby (D.I. 147),
  DAP (D.I. 146), Dominion (D.I. 165), Foster Wheeler (D.I. 152), Gardner Denver (D.1. 143),
  Rheem (D.I. 156), Slant/Fin (D.I. 163), Spirax (D.I. 162), and SBW (D.I. 160).
  3
    The federal officer removal statute permits removal of a state court action to federal court
  when, inter alia, such action is brought against "[t)he United States or an agency thereof or any
  officer (or any person acting under that officer) of the United States or of any agency thereof,
  sued in an official or individual capacity for any act under color of such office." 28 U.S.C. §
  1442(a)(l).

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  for summary judgment, individually. (D.I. 166, 170, 157, 144, 145, 164, 151, 142, 155, 163,

  161, 159) Plaintiffs did not respond to these motions. 4

             B. Facts

                        1. Mr. Harding's alleged exposure history

         Plaintiffs allege that Mr. Harding developed lung cancer as a result of exposure to

  asbestos-containing materials during his service as a pipefitter 5 in the United States Navy, as

  well as from his civilian work. (D .I. 1, Ex. 1 at ,r,r 3-4) Plaintiffs contend that Mr. Harding was

  injured due to exposure to asbestos-containing products that defendants manufactured, sold,

  distributed, licensed, or installed. (Id at ,r,r 4-13) Accordingly, plaintiffs assert claims for

  negligence, willful and wanton conduct, strict liability, and loss of consortium. (Id at ,r,r 14-32)

         Mr. Harding was deposed on August 8 and 9, 2017. (DJ. 88) Plaintiffs did not produce

  any other fact or product identification witnesses for deposition. 6

         Before serving in the Navy, Mr. Harding first worked for Pickering Plumbing and

  Heating as a plumber apprentice in New Canaan, Connecticut from 1962-1963. (D.I. 1, Ex. 1, ,r

  3) While working for Pickering Plumbing and Heating, Mr. Harding "[d]id commercial

  plumbing, plumbing and heating in houses in residential, boiler rooms," and dealt with both

  residential and commercial boilers. (D.I. 156, Ex. 1 at 81 :5-6, 81: 13-15) Mr. Harding believes

  he worked on Weil McLain, A.O. Smith, Burnham, and American Standard residential boilers.

  (Id at 81: 19-22) He also recalls installing Weil McLain and American Standard sectional



  4
    On September 26, 2018, Defense Liaison Counsel filed a joint status report confirming that no
  opposition to the pending motions was filed on the docket. (D.I. 207)
  5
    Plaintiffs note Mr. Harding worked as a pipefitter in their original complaint, but excerpts from
  Mr. Harding's deposition also refer to his work as a fireman apprentice. (See D.I. 1, Ex. 1 at ,r 3;
  D.I. 171, Ex. A at 73:22-24, 89:5-9)
  6
    The deadline for completion of depositions of all co-worker, product identification, and other
  exposure testimony witnesses was October 13, 2017. (D.1. 47 at 3)

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  boilers, but was unsure as to whether he installed a Burnham sectional boiler. (Id. at 85: 18-21)

  Mr. Harding recounted that he removed sectional boilers manufactured by Weil McLain,

  American Standard, A.O. Smith, Burnham, and Utica, though most were manufactured by Weil

  McLain. (Id. at 97:7-20, 100: 17-23) Additionally, Mr. Harding testified that he installed

  package boilers manufactured by Burnham, American Standard, Utica, and A.O. Smith. (Id. at

  112:7-20) Most of the package boilers he installed were manufactured by A.O. Smith. (Id. at

  114:24-115: 10) Mr. Harding also recounted how he worked with commercial boilers - the

  majority of which were manufactured by Weil McLain. (Id. at 121: 12-19) Mr. Harding alleges

  he experienced exposure to asbestos while working on boilers through use of asbestos powder

  that formed the base for a compound that he applied to boiler connections. (Id. at 83:13-84:12)

  He further testified that he was exposed to this "asbestos rope and/or dried mud" upon removing

  the boilers and had to clean up the area by sweeping, scraping, or hosing down the area. (Id. at

  94: 17-95 :25) Mr. Harding described how the processes of installing and removing boilers

  produced dust and how he would inhale the dust and get some dust on his clothes. (Id. at 96:2-

  20, 98:22-99:25, 100:1-16, 110:11-111:25, 113:13-20)

         Mr. Harding served in the Navy from 1963 to 1967. (D.I. 1, Ex. 1 at ,r 3) On board the

  USS Valley Forge, Mr. Harding worked as a pipefitter and was responsible for packing and

  replacing valves. (D.1. 171, Ex. A at 89:5-9) When valves were not working, he would replace

  them and if they were leaking, he would fix them. (Id. at 91: 11-92: 18) Mr. Harding would

  repair packing at the top of the valve by taking the bonnet off, picking out the old packing,

  cleaning with a wire brush, and then cutting and installing the new packing. (D.1. 156, Ex. 1 at

  21 :20-22:6) He believes the packing was made of asbestos and described how the packing was a

  dusty process that left him inhaling the dust. (Id. at 22:22-23:7) Mr. Harding also worked on



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  flanges by replacing gaskets. (Id. at 27:10-14) He described how he would take out an old

  gasket, scrape the flange, and then make new gaskets out of sheet asbestos. (Id. at 27: 13-18) He

  testified that replacing gaskets also produced dust. (Id. at 28:24-29:4) Mr. Harding performed

  this maintenance work on feedwater pumps, fuel oil pumps, condensate pumps, bilge pumps, and

  fire pumps. (Id. at 32:5-8, 54:18-55:9, 64:2-5, 70:9-23)

          Mr. Harding removed insulation from the pipes leading from the pumps, which produced

  a cloud of dust that he inhaled. (Id. at 38:9-39: 10) He would then replace the insulation by

  wrapping the pipe with a sheet asbestos product and covering the sheet with powdered asbestos

  cement that he would mix with water in a bucket, which also created dust that he inhaled. (Id. at

  39:18-25) Mr. Harding worked on the USS Valley Forge's boilers by welding tubes if they were

  leaking. (Id. at 42:3-7) When doing so, he was in the presence of other technicians who took old

  bricks out and installed new ones, which he described as a dusty job that caused him to breathe

  in dust. (Id. at 45: 1-10)

          Mr. Harding was also present when machinist mates took off the access panel of the

  turbines to get inside the casing and removed gaskets. (Id. at 48: 11-49:4) While present, Mr.

  Harding inhaled the dust that this process created. (Id. at 49:10-13) Mr. Harding was not

  responsible for turbine repair, did not handle the turbine itself, and was not present for turbine

  repair, but was responsible for replacing piping going in or around the turbines. (Id. at 47:21-

  48:1)

          After serving in the Navy, Mr. Harding worked as an apprentice for Chuck Fratoroli

  ("Fratoroli") in Stamford, Connecticut from 1968 to 1970. (D.I. 1, Ex. A at, 3) As an

  apprentice, Mr. Harding worked on boilers, similar to the work he performed prior to his naval

  service. (D.I. 163, Ex. B at 285: 1-286: 10) In the late 1970s, Mr. Harding worked as a pipefitter



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  at Millstone Power Plant ("Millstone") in New London, Connecticut. (DJ. 165 at 2; Ex.Cat

  134: 8-13 5: 1) His work consisted of installing relief valve piping and flood tubes, removing

  insulation, and maintaining steam valves. (D.I. 165, Ex.Cat 135:24-136:4, 136, 19-25, 141:12-

  15) Mr. Harding testified that he believed the steam lines were coated with asbestos. (Id. at

  136:5-15) Mr. Harding was diagnosed with lung cancer in February 2015. 7 (DJ. 162, Ex.Bat

  26)

                      2. Plaintiffs' product identification evidence

         Mr. Harding is the sole product identification witness in this case and his deposition

  occurred on August 8 and 9, 2017. (DJ. 88)

                            a. A.O. Smith Corporation

         Mr. Harding identified A.O. Smith as one of several manufacturers of sectional boilers he

  removed during his work as a plumber. (D.I. 167, Ex. A at 100:17-23) On cross-examination,

  however, Mr. Harding admitted he was mistaken and should not have identified A.O. Smith as a

  manufacturer of sectional boilers. (Id., Ex. B at 257: 18-258:7) Mr. Harding estimated that he

  installed about twelve A.O. Smith residential packaged boilers over the course of his career. (Id.



  7
    Mr. Harding started smoking cigarettes in 1961. (D.I. 146, Ex.Bat 25:8-11) By 1964, he was
  smoking one pack per day. (Id. at 26:8-12) After unsuccessful attempts, Mr. Harding eventually
  quit smoking completely in 2015. (Id. at 30:18-23; 27:7-22; 25:6-7; 27:12-17)
  Defendants suggest that plaintiffs are unable to prove causation in light of Mr. Harding's past
  smoking habits. (D.I. 146 at 4-5; D.I. 162 at 4-5) Here, neither plaintiffs nor defendants have
  produced expert testimony regarding Mr. Harding's history of smoking. In similar asbestos
  cases where the plaintiff has a past smoking habit and the parties have submitted expert
  testimony or reports, courts have not considered this smoking history. See Brown v. General
  Elec. Co., 2012 WL 7761251 (E.D. Pa. 2012) (granting defendant's motion for summary
  judgment without discussion of plaintiffs past smoking habits in its analysis, even with an
  expert produced by defendant); In re Asbestos Litig., 2014 WL 605844 (Del. Super. Ct. 2014)
  (concluding plaintiffs failed to meet product nexus standard under maritime or Arkansas law
  without analyzing plaintiffs past smoking habits, despite expert testimony produced by
  defendant). Therefore, Mr. Harding's smoking history is not considered relevant for purposes of
  this Report and Recommendation.

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  at 264:25-265:2) Mr. Harding was unable to provide details about A.O. Smith boilers and the

  general description of A.O. Smith boilers he gave was inconsistent with any boilers

  manufactured or distributed by A.O. Smith. For example, Mr. Harding testified that A.O. Smith

  boilers' fuel source was oil, but "A.O. Smith did not manufacture or sell oil-fired boilers."

  (Compare id. at 266:13-15 with Ex.Cat, 7) Further, Mr. Harding believes his exposure to

  asbestos from A.O. Smith boilers is narrowly rooted in his exposure to the flue compound. (Id.

  at 267:4-7) However, A.O. Smith "did not design, manufacture, sell, supply, specify, require,

  recommend, suggest, or approve the use of asbestos compound with its residential packaged

  boilers as described by Mr. Harding." (Id., Ex. C at , 10) Mr. Harding believes he was exposed

  to asbestos by using a flue mud compound when installing A.O. Smith boilers, but he was unable

  to identify the manufacturer of this compound and has no basis for believing that the compound

  contained asbestos. (Id., Ex.Bat 248:5-13, 266:20-24)

                             b. Air & Liquid Systems Corp.

         Mr. Harding did not identify any Air & Liquid products or exposure to any asbestos-

  containing Buffalo products, and he could not name any manufacturers of the pumps around

  which he worked. (D.I. 171, Ex. A at 90:6-17) Mr. Harding recounted how he worked around

  pumps while serving in the Navy aboard the USS Valley Forge. (Id. at 89:5-9; 91:11-92:24)

  However, he admitted he did not work on the pumps themselves, but instead on the valves that

  "ledinandoutofthepumps." (Id. at89:17-19, 108:7-14)

                            c. Burnham LLC

         Burnham manufactured a variety of boilers - some of which contained asbestos-

  containing components, and others which did not contain asbestos-containing components. (D.I.

  158, Ex. G at 4) Mr. Harding identified Burnham as one of several manufacturers ofresidential



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  and sectional boilers on which he worked. (Id., Ex. A at 81 :19-22, 100:17-23) However, he

  could not recall either installing or removing a Burnham sectional boiler. (Id. at 85: 18-21; Ex. B

  at 280: 19-281 :8) Mr. Harding testified that he removed two or three Burnham packaged boilers

  on one occasion during his career. (Id., Ex. B at 281 :9-19) He believes he was exposed to

  asbestos through the flue connection compound associated to the removal of Burnham packaged

  boilers. (Id. at 282:10-14) Mr. Harding could not recall if the "mud" compound to which he was

  exposed while removing the Burnham package boilers was original to the boiler. (Id. at 282: 15-

  25)

                             d. Crosby Valve LLC

         Mr. Harding did not identify any asbestos-containing Crosby products or exposure to any

  Crosby products. (D.1. 147 at 5-6)

                             e. DAP Products, Inc.

         Mr. Harding identified DAP as a manufacturer of caulk he used as a plumber both before

  and after his service in the Navy, but could not identify any specific asbestos-containing DAP

  product that was used. (D.I. 146, Ex. A at 151 :2-4, 151: 18-21) Mr. Harding testified that he has

  no knowledge that the DAP caulk he used contained any asbestos. (Id., Ex.Bat 273:2-5,

  273:23-25) Mr. Harding believes that his exposure to asbestos in the course of working with

  DAP's caulk is rooted in the dust produced when he scraped off dried caulk on his hands. (Id. at

  272:8-11) Mr. Harding described how the caulk was originally a wet product that would dry into

  a rubbery consistency. (Id. at 271:1-19; 272:8-23) Mr. Harding testified that if a thin coat of

  caulk dried on his hands, it was not particularly rubbery and he could scrape it off with his nail.

  (Id. at 272: 17-19) He agreed that there was a small amount of dust that was produced, if at all,

  when he scraped off the .caulk from his hands. (Id. at 272:20-23)



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                                f.   Dominion Nuclear Connecticut, Inc.

         Mr. Harding did not identify an asbestos-containing Dominion product or exposure to

  any Dominion products. (D.I. 165 at 2) Dominion owns Millstone, where Mr. Harding worked

  as a union pipefitter on two occasions in the late 1970s. (D.I. 165 at 2; Ex. A at ,r,r 3-4; Ex.Cat

  134: 12-135: 1) No premises liability causes of action have been made in the complaint, so no

  cause of action is alleged.

                                g. Foster Wheeler LLC

         Mr. Harding did not identify an asbestos-containing Foster Wheeler product or exposure

  to any Foster Wheeler products. (D.I. 152 at 1-2)

                                h. Gardner Denver, Inc.

         Mr. Harding did not identify an asbestos-containing Gardner Denver product or exposure

  to any Gardner Denver products. (D.I. 143 at 2, 6)

                                i.   Rheem Manufacturing Company

         Mr. Harding identified four residential boiler manufacturers, four manufacturers of

  packing boilers, and one manufacturer of commercial boilers with which he had experience

  during the course of his naval service and employment. (DJ. 156, Ex. 1 at 81: 19-22, 112:7-20,

  121: 16-19) Mr. Harding also identified two manufacturers of sectional boilers he installed and

  five manufacturers of sectional boilers he removed. (Id. at 85:18-21, 97:5-9, 100:17-23) Despite

  these identifications, he did not identify Rheem as a manufacturer of any of these types of boilers

  he worked on, installed, or removed. (Id. at 81: 19-22, 112:7-20, 121: 16-19, 85: 18-21, 97:5-9,

  100:17-23; Ex. 2 at 101:13-16, 121:2-6)

                                j. Slant/Fin Corporation

         Mr. Harding testified that while working for Fratoroli, he installed approximately two or



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  three residential package boilers manufactured by Slant/Fin. (D.I. 163, Ex.Bat 285:13-286:10)

  He further testified that he did not maintain these boilers. (Id. at 290:3-4) He could not describe

  the exterior of a Slant/Fin packaged boiler. (Id. at 290:5-12) Mr. Harding testified that he

  periodically installed Slant/Fin baseboard heating elements. (Id. at 285:13-19, 285:24-286:2)

  Mr. Harding also admitted he does not associate his work with any Slant/Fin baseboard heating

  elements with asbestos. (Id. at 309:16-24)

                             k. Spirax Sarco, Inc.

          Spirax manufactures steam traps and radiator valves and has not manufactured asbestos-

  containing products. (D.I. 162 at 4; Ex. E) Mr. Harding did not identify an asbestos-containing

   Spirax product or exposure to any Spirax products. (D.I. 162 at 4)

                             I.   Superior Boiler Works, Inc.

          Mr. Harding did not identify an asbestos-containing SBW product or exposure to any

   SBW product. (D.I. 160 at 2, 6)

  Ill.    LEGAL STANDARDS

              A. Summary Judgment

          "The court shall grant summary judgment if the movant shows that there is no genuine

  dispute as to any material fact and the movant is entitled to judgment as a matter of law." Fed.

  R. Civ. P. 56(a). Material facts are those that could affect the outcome of the proceeding, and "a

  dispute about a material fact is 'genuine' if the evidence is sufficient to permit a reasonable jury

  to return a verdict for the nonmoving party." Lamont v. New Jersey, 637 F.3d 177, 181 (3d Cir.

  2011) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242,248 (1986); Celotex Corp. v.

  Catrett, 477 U.S. 317, 322-23 (1986)).

          The moving party bears the initial burden of proving the absence of a genuinely disputed



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  material fact. See Celotex, 477 U.S. at 321. The burden then shifts to the non-movant to

  demonstrate the existence of a genuine issue for trial, and the court must view the evidence in the

   light most favorable to the non-moving party. See Matsushita Elec. Indus. Co., Ltd v. Zenith

  Radio Corp., 475 U.S. 574,587 (1986); Williams v. Borough of West Chester, Pa., 891 F.2d 458,

  460-61 (3d Cir. 1989); Scott v. Harris, 550 U.S. 372,380 (2007). An assertion that a fact cannot

   be-or, alternatively, is-genuinely disputed must be supported either by citing to "particular

  parts of materials in the record, including depositions, documents, electronically stored

  information, affidavits or declarations, stipulations (including those made for purposes of the

  motion only), admissions, interrogatory answers, or other materials," or by "showing that the

  materials cited do not establish the absence or presence of a genuine dispute, or that an adverse

  party cannot produce admissible evidence to support the fact." Fed. R. Civ. P. 56(c)(l)(A) &

   (B). To defeat a motion for summary judgment, the nonmoving party must "do more than

   simply show that there is some metaphysical doubt as to the material facts." Matsushita, 475

  U.S. at 586. The "mere existence of some alleged factual dispute between the parties will not

  defeat an otherwise properly supported motion for summary judgment;" rather, there must be

  enough evidence to enable a jury to reasonably find for the non-moving party on the issue. See

  Anderson, 477 U.S. at 247-49. "If the evidence is merely colorable, or is not significantly

  probative, summary judgment may be granted." Id. at 249-50 (internal citations omitted); see

  also Celotex, 477 U.S. at 322. If the non-movant fails to make a sufficient showing on an

  essential element of its case on which it bears the burden of proof, then the movant is entitled to

  judgment as a matter oflaw. See Celotex, 477 U.S. at 322.

          If a party fails to address another party's assertion of fact, the court may consider the fact

  undisputed, or grant summary judgment if the facts show that the movant is entitled to it. Fed. R.



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   Civ. P. 56(e)(2)-{3). 8 A plaintiffs failure to respond "is not alone a sufficient basis for the entry

   of a summary judgment." Anchorage Assocs. v. Virgin Islands Bd. Of Tax Review, 922 F.2d

   168, 175 (3d Cir. 1990). Even where a party does not file a responsive submission to oppose the

   motion, the court must still find that the undisputed facts warrant judgment as a matter of law.

   Miller v. Ashcroft, 76 F. App'x 457,462 (3d Cir. 2003) (citing Fed. R. Civ. P. 56; Lorenzo v.

   Griffith, 12 F.3d 23, 28 (3d Cir. 1993)). In other words, the court must still determine whether

   the unopposed motion for summary judgment "has been properly made and supported."

   Williams v. Murray, Inc., 2014 WL 3783878, at *2 (D.N.J. July 31, 2014) (quoting Muskett v.

   Certegy Check Svcs., Inc., 2010 WL 2710555, at *3 (D.N.J. July 6, 2010)).

              b. Maritime Law: Product Identification/Causation

          The parties do not dispute that maritime law applies to all Naval/sea-based claims. 9 In


   8
    This section was added to Rule 56 to overcome cases in the Third Circuit that impaired the
   utility of the summary judgment device:

                  A typical case is as follows: A party supports his motion for
                  summary judgment by affidavits or other evidentiary matter
                  sufficient to show that there is no genuine issue as to a material
                  fact. The adverse party, in opposing the motion, does not produce
                  any evidentiary matter, or produces some but not enough to
                  establish that there is a genuine issue for trial. Instead, the adverse
                  party rests on averments of his pleadings which on their face
                  present an issue.

  Fed. R. Civ. P. 56(e) advisory committee's note. Before the amendment, the Third Circuit would
  have denied summary judgment if the averments were "well-pleaded," and not conclusory. Id.
  However, the Advisory Committee noted that summary judgment is meant to pierce the
  pleadings and to assess proof to see whether there is a genuine need for trial. Id. Accordingly,
  the pre-amendment Third Circuit precedent was incompatible with the basic purpose of the rule.
  Id. The amendment recognizes that, "despite the best efforts of counsel to make his pleadings
  accurate, they may be overwhelmingly contradicted by the proof available to his adversary." Id.
  The amendment, however, was not designed to affect the ordinary standard applicable to
  summary judgment. Id.
  9
    For maritime law to apply, a plaintiffs exposure underlying a products liability claim must
  meet both a locality test and a connection test. In Jerome B. Grubart, Inc. v. Great Lakes
  Dredge & Dock Co., 513 U.S. 527 (1995), the Supreme Court defined these tests as follows:

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  order to establish causation in an asbestos claim under maritime law, a plaintiff must show, for

  each defendant, "that ( 1) he was exposed to the defendant's product, and (2) the product was a

  substantial factor 10 in causing the injury he suffered." Lindstrom v. A-C Prod. Liab. Trust, 424

  F.3d 488,492 (6th Cir. 2005) (citing Stark v. Armstrong World Indus., Inc., 21 F. App'x 371,

  375 (6th Cir. 2001)); Dumas v. ABB Grp., Inc., 2015 WL 5766460, at *8 (D. Del. Sept. 30,

  2015), report and recommendation adopted, 2016 WL 310724 (D. Del. Jan. 26, 2016); Mitchell

  v. Atwood & Morrill Co., 2016 WL 4522172, at *3 (D. Del. Aug. 29, 2016), report and

  recommendation adopted, 2016 WL 5122668 (D. Del. Sept. 19, 2016); Denbow v. Air & Liquid

  Sys. Corp., 2017 WL 1199732, at *4 (D. Del. Mar. 30, 2017), report and recommendation

  adopted, 2017 WL 1427247 (D. Del. Apr. 19, 2017). 11



         A court applying the location test must determine whether the tort occurred on
         navigable water or whether injury suffered on land was caused by a vessel on
         navigable water. The connection test raises two issues. A court, first, must
         "assess the general features of the type of incident involved," to determine
         whether the incident has "a potentially disruptive impact on maritime
         commerce[.]" Second, a court must determine whether "the general character" of
         the "activity giving rise to the incident" shows a "substantial relationship to
         traditional maritime activity."

  513 U.S. at 534 (internal citations omitted).
  JO "Maritime law incorporates traditional 'substantial factor' causation principles, and courts
  often look to the Restatement (Second) of Torts for a more helpful definition." Delatte v. A. W.
  Chesterton Co., 2011 WL 11439126, at *1 n.l (E.D. Pa. Feb. 28, 2011). The comments to the
  Restatement indicate that the word "substantial," in this context, "denote[s] the fact that the
  defendant's conduct has such an effect in producing the harm as to lead reasonable men to regard
  it as a cause, using that word in the popular sense, in which there always lurks the idea of
  responsibility." Restatement (Second) of Torts§ 431 cmt. a (1965).
  11
     Previously, courts in this Circuit recognized a third element and required a plaintiff to "show
  that (3) the defendant manufactured or distributed the asbestos-containing product to which
  exposure is alleged," Abbay v. Armstrong Int'!, Inc., 2012 WL 975837, at *1 n.1 (E.D. Pa. Feb.
  29, 2012), because the majority of federal courts have held that, under maritime law, a
  manufacturer has no liability for harms caused by, and no duty to warn about hazards associated
  with, a product it did not manufacture or distribute. This is also referred to as the "bare metal"
  defense. See Dalton v. 3M Co., 2013 WL 4886658, at *7 (D. Del. Sept. 12, 2013) (citing cases);
  Conner v. Alfa Laval, Inc., 842 F. Supp. 2d 791, 801 (E.D. Pa. 2012). However, the Third

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          "In establishing causation, a plaintiff may rely upon direct evidence (such as testimony of

  the plaintiff or Decedent who experienced the exposure, co-worker testimony, or eye-witness

  testimony) or circumstantial evidence that will support an inference that there was exposure to

  the defendant's product for some length oftime." 12 Abbay v. Armstrong Int'!, Inc., 2012 WL

  975837, at *1 n.1 (E.D. Pa. Feb. 29, 2012) (citing Stark, 21 F. App'x at 376). On the other hand,

  '"[m]inimal exposure' to a defendant's product is insufficient [to establish causation]. Likewise,

  a mere showing that defendant's product was present somewhere at plaintiffs place of work is

  insufficient." Lindstrom, 424 F.3d at 492 (quoting Stark, 21 F. App'x at 376) (internal citation

  omitted). "Rather, the plaintiff must show 'a high enough level of exposure that an inference

  that the asbestos was a substantial factor in the injury is more than conjectural.'" Abbay, 2012

   WL 975837, at* 1 n.1 (quoting Lindstrom, 424 F.3d at 492). "Total failure to show that the

  defect caused or contributed to the accident will foreclose as a matter of law a finding of strict

  product[] liability." Stark, 21 F. App'x at 376 (citations omitted).

              B. Connecticut Law

          The parties do not dispute that Connecticut law applies to all land based claims. (D.1.

   109) Under Connecticut law, a plaintiff asserting a claim for asbestos-related injuries must "l)

   identify an asbestos-containing product for which a defendant is responsible, 2) prove that he has


  Circuit rejected the bare metal defense, and held that a manufacturer of a "bare metal" product
  may be held liable for injuries sustained from later-added asbestos-containing materials, if the
  facts show that the plaintiffs injuries were a reasonably foreseeable result of the manufacturer's
  failure to provide a reasonable and adequate warning. In re: Asbestos Prod. Liab. Litig.
  (Devries), 873 F.3d 232, 240 (3d Cir. 2017). This decision is currently under review by the
  Supreme Court of United States; on May 14, 2018, the Supreme Court granted the Petition for a
  Writ of Certiorari of the Devries decision. See Air & Liquid Sys. Corp. v. Devries, No. 17-1104,
  2018 WL 753606 (U.S. May 14, 2018).
  12
     However, "'substantial exposure is necessary to draw an inference from circumstantial
  evidence that the exposure was a substantial factor in causing the injury."' Stark, 21 F. App'x at
  376 (quoting Harbour v. Armstrong World Indus., Inc., 1991 WL 65201, at *4 (6th Cir. April 25,
  1991)).

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  suffered damages, and 3) prove that defendant's asbestos-containing product was a substantial

  factor in causing his damages." Laposka v. Aurora Pump Co., 2004 WL 2222935, at * 1 (Conn.

  Super. Sept. 14, 2004) (quoting Roberts v. Owens-Corning Fiberglas Corp., 726 F. Supp. 172,

   174 (W.D. Mich. 1989)).

         The Connecticut Supreme Court has not spoken to a specific causation standard in

  asbestos cases, but the court has defined "substantial factor" in other contexts. The substantial

  factor test helps differentiate those injuries where the defendant "play[s] a part of so minor a

  character that the law cannot recognize [it] as [a cause]." Birnie v. Electric Boat Corp., 288

  Conn. 392, 411 (2008) (quoting Norton v. Barton's Bias Narrow Fabric Co., 106 Conn. 360,

  364-65 (1927)). The substantial factor causation standard requires contribution "to the

  development of the injury in more than a de minimis way." Birnie, 288 Conn. at 413 (emphasis

  in original). "Remote or trivial causes are generally rejected because the determination of the

  responsibility for another's injury is much too important to be distracted by explorations for

  obscure consequences or inconsequential causes." Kowal v. Hojher, 181 Conn. 355, 360 (1980).

  IV.    DISCUSSION

             A. A.O. Smith Corporation

         The court recommends granting A.O. Smith's motion for summary judgment, because

  there is no genuine issue of material fact in dispute as to whether Mr. Harding was exposed to an

  asbestos-containing A.O. Smith product. During Mr. Harding's deposition, he originally

  identified A.O. Smith as a manufacturer of residential sectional boilers. (D.I. 167, Ex. A at

  81: 19-22, 100: 17-23) However, when testifying the following day, counsel represented to Mr.

  Harding that "A.O. Smith did not manufacture sectional boilers" and Mr. Harding failed to

  dispute this representation, admitting that he was mistaken. (Id., Ex.Bat 257:24-258:7)



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  Additionally, Mr. Harding provided a description of A.O. Smith boilers that was inconsistent

  with their actual form. For example, Mr. Harding testified that A.O. Smith boilers' fuel source

  was oil, but "A.O. Smith did not manufacture or sell oil-fired boilers." (Compare id at 266:13-

   15 with Ex.Cat ,r 7) Further, Mr. Harding believes his exposure to asbestos from A.O. Smith

   boilers is narrowly rooted in his exposure to the flue compound. (Id. at 267:4-7) However, A.O.

   Smith "did not design, manufacture, sell, supply, specify, require, recommend, suggest, or

   approve the use of asbestos compound with its residential packaged boilers as described by Mr.

  Harding." (Id., Ex. C at ,r 10) Because plaintiffs have not introduced evidence showing that

  A.O. Smith's products were a substantial factor in causing Mr. Harding's injuries, as required by

  Connecticut law, the court recommends granting A.O. Smith's motion for summary judgment.

              B. Air & Liquid Systems Corp.

          The court recommends granting Air & Liquid's motion for summary judgment, because

  there is no genuine issue of material fact in dispute as to whether Mr. Harding was exposed to an

  asbestos-containing Air & Liquid product. During Mr. Harding's deposition, he did not identify

  any Air & Liquid product. Plaintiffs have not introduced evidence showing any identification of

  Air & Liquid's products or evidence that Air & Liquid's products were a substantial factor in

  causing Mr. Harding's injuries, as required by maritime law. Therefore, the court recommends

  granting Air & Liquid's motion for summary judgment.

             C. Burnham LLC

          The court recommends granting Burnham's motion for summary judgment, because there

  is no genuine issue of material fact in dispute as to whether a Burnham product was a substantial

  factor in causing Mr. Harding's injuries. Burnham contends that Mr. Harding cannot recall

  working on Burnham sectional boilers. (D.I. 158 at 4-5) Additionally, Burnham argues that Mr.



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  Harding's testimony as to use of a joint compound for the boiler connections cannot create a

  genuine issue of material fact as to whether Burnham's products were a substantial factor in

  causing his injuries under either Connecticut or maritime law because he cannot say the flue

  connection mud material originally came from the Burnham boiler. (Id. at 10)

         Although Mr. Harding identified Burnham as one of the manufacturers of sectional

  boilers he installed and removed, Mr. Harding also "cannot be positive" he ever removed or

  installed a Burnham sectional boiler. (Id., Ex. A at 81:19-22, 100:17-23, 85:18-21; Ex.Bat

  280: 19-281 :8) Mr. Harding responded in the affirmative when asked by counsel if "is it fair to

  say that sitting here today you can't recall if you ever removed [or installed] a Burnham ...

  boiler?" (Id., Ex. B at 280:22-24, 281 :5-11) To the extent that Mr. Harding has worked on

  Burnham boilers, Mr. Harding believes he was exposed to asbestos due to the flue connection

  mud material. (Id. at 282:10-25) However, he admitted he "[has] no way of telling that" the

  mud was original to the boiler. (Id. at 282: 15-21) Consequently, there is insufficient evidence to

  find the substantial factor test required by Connecticut and maritime law has been met, and the

  court recommends granting Burnham' s motion for summary judgment.

             D. Crosby Valve LLC

         The court recommends granting Crosby's motion for summary judgment, because there is

  no genuine issue of material fact in dispute as to whether a Crosby product was a substantial

  factor in causing Mr. Harding's injuries. During Mr. Harding's deposition, he did not identify

  any Crosby product. Because plaintiffs have not introduced evidence showing any product

  identification or product nexus between Crosby's products and his injuries, there is no basis for

  the court to find that a Crosby product was a substantial factor in causing his injuries, as required

  by maritime law. Therefore, the court recommends granting Crosby's motion for summary



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  judgment.

              E. DAP Products, Inc.

          The court recommends granting DAP's motion for summary judgment. Although Mr.

  Harding testified that he encountered DAP products during his work as a plumber, he did not

  offer sufficient testimony to create a dispute of fact as to whether a DAP product was a

   substantial factor in causing his injuries. (D.I. 146, Ex.Bat 273:2-5, 273:23-25) Mr. Harding

  admitted he had no reason to believe that DAP' s caulk contained asbestos. 13 (Id.) Additionally,

  Mr. Harding noted that a small amount of dust was produced after the originally wet caulk dried

  and was scraped off his hands. (Id. at 272: 15-23) Plaintiffs have failed to provide evidence that

  DAP' s products were a substantial factor in causing his injury under Connecticut law. See

  Birnie, 288 Conn. at 412-13. As such, the court recommends granting DAP's motion for

   summary judgment.

              F. Dominion Nuclear Connecticut, Inc.

          The court recommends granting Dominion's motion for summary judgment, because

  there is no genuine issue of material fact in dispute as to whether a Dominion product was a

  substantial factor in causing Mr. Harding's injuries. Mr. Harding did not identify any Dominion

  product during his deposition, and has not provided evidence of a product nexus between


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     During the relevant time period, DAP manufactured both asbestos-containing and non-
  asbestos-containing caulk compounds. (D .I. 146 at 1; Ex. C) Plaintiffs have not offered any
  description or identification of the product or packaging for the caulk to which Mr. Harding was
  exposed, so the court will not speculate about whether the DAP product he was exposed to
  contained asbestos. (D.I. 146, Ex. A at 151: 15-21; Ex. B at 269:5-270:25) See Stigliano v.
  Westinghouse, 2006 WL 3026171, at *1 (Del. Super. Ct. Oct. 18, 2006) ("When the record
  reveals that a defendant manufactured both asbestos-containing and non asbestos-containing
  versions of a product during the time period of alleged exposure, in the absence of evidence
  directly or circumstantially linking the plaintiff to the asbestos-containing product, the Court
  cannot draw the inference of exposure and summary judgment on product nexus must be
  granted.") (citing Lipsomb v. Champlain Cable Corp., 1988 WL 102966 (Del. Super. Ct. Sept.
  12, 1988)).

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   Dominion's products and his injuries. Plaintiffs have not introduced evidence that a Dominion

   product was a substantial factor in causing Mr. Harding's injury, as required by Connecticut law.

          Furthermore, plaintiffs have not alleged a premises liability cause of action in the

   complaint, and have not opposed Dominion's argument that any premises liability claim should

   be dismissed. Under Connecticut law, the owner of a premises who employs an independent

   contractor to perform work is generally not liable for "any losses resulting from negligence in the

   performance of the work." Mozeleski v. Thomas, 818 A.2d 893, 897 (Conn. App. Ct. 2003).

   However, "where the employer retains control of the premises or supervises the work of the

   contractor, or where the work to be performed by the contractor is inherently dangerous, or

   where the employer has a nondelegable duty to take safety precautions imposed by statute or

   regulation, the employer may be vicariously liable to others for the negligent acts of the

   independent contractor." Raboin v. N Am. Indus., Inc., 749 A.2d 89, 92 (Conn. App. Ct. 2000).

   Mr. Harding testified that he was employed by and worked at the direction of independent

   contractors. (D.I. 165, Ex.Cat 140:3-22; Ex. D at 183:18-23, 186:15-187:22) Plaintiffs have

   not provided evidence establishing that Dominion supervised Mr. Harding's work, Mr. Harding's

   work was inherently dangerous, or that Dominion had a nondelegable duty to take safety

   precautions pursuant to statute or regulation. Therefore, the court recommends granting

   Dominion's motion for summary judgment.

              G. Foster Wheeler LLC

          The court recommends granting Foster Wheeler's motion for summary judgment,

   because there is no genuine issue of material fact in dispute as to whether Mr. Harding was

   exposed to an asbestos-containing Foster Wheeler product. During Mr. Harding's deposition, he

   did not identify any Foster Wheeler product. Because plaintiffs have not introduced evidence



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   showing a product identification or product nexus between Foster Wheeler's products and his

   injuries, there is no basis for the court to conclude that a Foster Wheeler product was a

   substantial factor in causing Mr. Harding's injuries, as required by Connecticut and maritime

   law. Therefore, the court recommends granting Foster Wheeler's motion for summary judgment.

              H. Gardner Denver, Inc.

          The court recommends granting Gardner Denver's motion for summary judgment,

   because there is no genuine issue of material fact in dispute as to whether a Gardner Denver

   product was a substantial factor in causing Mr. Harding's injuries. During Mr. Harding's

   deposition, he did not identify any Gardner Denver product. Because plaintiffs have not

   introduced evidence showing a product identification or product nexus between Gardner

   Denver's products and his injuries, there is no basis for the court to conclude that a Gardner

   Denver product was a substantial factor in causing Mr. Harding's injuries, as required by

   Connecticut law. Therefore, the court recommends granting Gardner Denver's motion for

   summary judgment.

              I. Rheem Manufacturing Company

          The court recommends granting Rheem' s motion for summary judgment, because there is

   no genuine issue of material fact in dispute as to whether a Rheem product was a substantial

   factor in causing Mr. Harding's injuries. During Mr. Harding's deposition, he did not identify

   any Rheem product. Because plaintiffs have not introduced evidence showing a product

   identification or product nexus between Rheem' s products and his injuries, there is no basis for

   the court to conclude that a Rheem product was a substantial factor in causing Mr. Harding's

   injuries, as required by Connecticut and maritime law. Therefore, the court recommends

   granting Rheem's motion for summary judgment.



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              J. Slant/Fin Corporation

          The court recommends granting Slant/Fin's motion for summary judgment, because there

   is no genuine issue of material fact in dispute as to whether a Slant/Fin product was a substantial

   factor in causing Mr. Harding's injuries. Slant/Fin argues Mr. Harding has failed to identify an

   asbestos-containing Slant/Fin product. (D.I. 163 at 9) Although Mr. Harding recounted his

   experience with Slant/Fin boilers and baseboard elements, he was unable to describe Slant/Fin

   products. (Id., Ex.Bat 285:5-286:2, 290:5-12) When asked ifhe "associate[d] any work with

   installing Slant/Fin baseboard heating elements with asbestos," Mr. Harding answered "no." (Id

   at 309: 18-20) Further, Mr. Harding answered affirmatively when asked: "So you don't

   associate any of your asbestos exposure in this case to Slant/Fin baseboard heating elements;

   correct?" (Id at 309:21-24) Plaintiffs have not provided sufficient evidence to establish that

   Slant/Fin's product was a substantial factor in causing Mr. Harding's injuries, as required by

   Connecticut law. Consequently, the court recommends granting Slant/Fin's motion for summary

  judgment.

              K. Spirax Sarco, Inc.

          The court recommends granting Spirax' s motion for summary judgment, because there is

   no genuine issue of material fact in dispute as to whether a Spirax product was a substantial

   factor in causing Mr. Harding's injuries. During Mr. Harding's deposition, he did not identify

   any Spirax product. Because plaintiffs have not introduced evidence showing a product

   identification or product nexus between Spirax's products and his injuries, there is no basis for

   the court to conclude that a Spirax product was a substantial factor in causing Mr. Harding's

   injuries, as required by Connecticut and maritime law. Therefore, the court recommends

   granting Spirax's motion for summary judgment.



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              L. Superior Boiler Works, Inc.

          The court recommends granting SBW's motion for summary judgment, because there is

   no genuine issue of material fact in dispute as to whether a SBW product was a substantial factor

   in causing Mr. Harding's injuries. During Mr. Harding's deposition, he did not identify any

   SBW product. Because plaintiffs have not introduced evidence showing a product identification

   or product nexus between SBW's products and his injuries, there is no basis for the court to

   conclude that a SBW product was a substantial factor in causing Mr. Harding's injuries, as

   required by Connecticut and maritime law. Therefore, the court recommends granting SBW's

   motion for summary judgment.




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   V.     CONCLUSION

          For the foregoing reasons, and as addressed in the chart infra, the court recommends

   granting Defendants' motions for summary judgment.

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   A.O. Smith Corporation                                       GRANT
    Air & Liquid Systems Corp.                                  GRANT
    Burnham LLC                                                 GRANT
    Crosby Valve LLC                                            GRANT
    DAP Products, Inc.                                          GRANT
    Dominion Nuclear Connecticut, Inc.                          GRANT
    Foster Wheeler LLC                                          GRANT
    Gardner Denver, Inc.                                        GRANT
    Rheem Manufacturing Company                                 GRANT
    Slant/Fin Corporation                                       GRANT
    Spirax Sarco, Inc.                                          GRANT
    Superior Boiler Works, Inc.                                 GRANT
          This Report and Recommendation is filed pursuant to 28 U.S.C. § 636(b)(l)(B), Fed. R.

   Civ. P. 72(b)(l), and D. Del. LR 72.1. The parties may serve and file specific written objections

   within fourteen (14) days after being served with a copy of this Report and Recommendation. Fed.

   R. Civ. P. 72(b)(2). The objection and responses to the objections are limited to ten (10) pages

   each. The failure of a party to object to legal conclusions may result in the loss of the right to de

   novo review in the District Court. See Sincavage v. Barnhart, 171 F. App'x 924, 925 n. l (3d Cir.

   2006); Henderson v. Carlson, 812 F.2d 874, 878-79 (3d Cir. 1987).

          The parties are directed to the court's Standing Order For Objections Filed Under Fed. R.

   Civ. P. 72, dated October 9, 2013, a copy of which is available on the court's website,

   http://www.ded.uscourts.gov.


   Dated: January 2~, 2019




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